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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

DONNA CAVE, et al.,                                                            PLAINTIFFS

EUGENE LEVY, et al.,                                        CONSOLIDATED PLAINTIFFS

THE SATANIC TEMPLE, et al.,                                                 INTERVENORS

v.                              Case No. 4:18-cv-00342-KGB

JOHN THURSTON, Arkansas Secretary
of State, in his official capacity                                            DEFENDANT

                                           ORDER

       Before the Court is plaintiffs’ motion for summary judgment hearing requesting oral

argument on the pending cross motions for summary judgment (Dkt. No. 297). The Court grants

plaintiffs’ motion for summary judgment hearing (Dkt. No. 297). The Court will hold a hearing

on the pending cross motions for summary judgment on Friday, July 7, 2023, at 10:00 a.m. CST.

At the Richard Sheppard Arnold United States Courthouse, 500 West Capitol Avenue, Little Rock,

Arkansas 72201, Courtroom 4D.

       So ordered this the 20th day of June, 2023.



                                                     ____________________________________
                                                     Kristine G. Baker
                                                     United States District Judge
